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12
13                           UNITED STATES DISTRICT COURT
14                          CENTRAL DISTRICT OF CALIFORNIA
15                                               MDL No. 2905
16   In re ZF-TRW Airbag Control Units
     Products Liability Litigation               Case No. 2:19-ml-02905-JAK-PLA
17
     ALL CASES                                   PLAINTIFFS’ APPLICATION TO SEAL
18
                                                 PORTIONS OF THEIR MOTION FOR
19                                               LEAVE TO FILE SUPPLEMENTAL
                                                 EVIDENCE FOR THE JANUARY 23,
20
                                                 2023 HEARING ON HONDA MOTOR
21                                               CO., LTD.’S JURISDICTIONAL
                                                 CHALLENGE
22
23                                               Hon. John A. Kronstadt
                                                 Hon. Paul L. Abrams
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                                                                   Case No.: 2:19-ml-02905-JAK-PLA
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 1         Pursuant to the Order re Stipulated Protective Order Regarding Confidential
 2   Treatment of Documents (the “Protective Order”), Dkt. 104, and Local Rule 79-5.2.2,
 3   Plaintiffs hereby apply to the Court for permission to seal portions of Plaintiffs’ Motion
 4   for Leave to File Supplemental Evidence.
 5         This application concerns four documents:
 6         1.     The Memorandum of Points and Authorities in Support of Plaintiffs’
 7                Motion for Leave to File Supplemental Evidence for the January 23, 2023
 8                Hearing on Honda Motor Co., Ltd.’s Jurisdictional Challenge;
 9         2.     The transcript of the December 21, 2022 deposition of the Domestic Honda
10                Defendants, which is provisionally subject to a confidentiality designation
11                by the Domestic Honda Defendants while they review the transcript to
12                make final confidentiality determinations;
13         3.     Domestic Honda Defendants’ Second Amended and Supplemental
14                Responses and Objections to Plaintiffs’ Notice of Deposition Pursuant to
15                Rule 30(B)(6), which the Domestic Honda Defendants designated highly
16                confidential; and
17         4.     Domestic Honda Defendants’ Supplemental E-Discovery Disclosures,
18                which the Domestic Honda Defendants designated confidential.
19         At this time, Plaintiffs take no position as to whether these documents contain any
20   information that should be sealed. However, under the terms of the Protective Order,
21   documents designated as “Confidential” and “Highly Confidential,” as well as the
22   information contained therein, must be filed under seal by the non-designating party. See
23   Dkt. 104, ¶ 20. Moreover, because the designating party is best positioned to explain
24   why information designated confidential should be sealed, the Protective Order requires
25   the designating party to submit a brief that either explains the basis for sealing the
26   information. Failure to submit such a brief results in the waiver of confidentiality rights.1
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28     The relevant language of the Protective Order states: “The Designating Party also agrees
     to file a brief within 7 days after the motion to seal is filed, or such other time as may be
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 1         For the purposes of this application, if the Court is inclined to seal these
 2   documents in their entirety, Plaintiffs propose filing their supporting memorandum with
 3   redactions and the accompanying Exhibits 1, 2, and 4 as slip-sheets on the public docket.
 4   Plaintiffs would also file the accompanying Declaration of John T. Nicolaou in support
 5   of the motion and Exhibit 3 without redactions on the public docket. Public versions
 6   consistent with this proposal are attached to this application. The unredacted copies of
 7   the exhibits will be attached to the accompanying Declaration of John T. Nicolaou in
 8   support of this application.
 9         Although the designations described above arguably required that Plaintiffs file
10   this application to seal, Plaintiffs do not oppose filing any of the documents subject to
11   this application on the public docket with no redactions. Plaintiffs are prepared to do so
12   if the Court is inclined to reject sealing here.
13         Plaintiffs have complied with Local Rule 79-5.2.2(b) by notifying the Domestic
14   Honda Defendants of the exhibits they intend to file and sharing copies of their brief in
15   advance of filing this application.
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     permitted by the Court, that either supports the relevant motion to seal and explains the
25   reasons why the Designating Party contends the information should be sealed or provides
     an alternative version of the Designating Party’s Covered Information that the
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     Designating Party contends is appropriate for public filing and explains the reasons why
27   any redacted information should be sealed. The Designating Party’s failure to submit a
     brief explaining why the Covered Information should be sealed shall result in a waiver of
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     confidentiality rights as to the filed documents under this Order.” Dkt. 104, ¶ 20.
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     Dated: January 12, 2023               Respectfully submitted,
 1
 2                                         /s/David Stellings
 3                                         David Stellings

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 1
 2                                   CERTIFICATE OF SERVICE
           I certify that on January 12, 2023, a copy of the foregoing Plaintiffs’ Application to
 3
     Seal Portions of Plaintiffs’ Motion for Leave to File Supplemental Evidence for the
 4
     January 23, 2023 Hearing on Honda Motor Co., Ltd.’s Jurisdictional Challenge was
 5
     served electronically through the Court’s electronic filing system upon all Parties
 6
     appearing on the Court’s ECF service list. Plaintiffs will email the unredacted versions of
 7
     the documents subject to this application to all parties.
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 9   DATED: January 12, 2023                /s/ David Stellings
                                            David Stellings
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           APPLICATION TO SEAL PORTIONS OF PLAINTIFFS’ MOTION TO FILE SUPPLEMENTAL EVIDENCE
